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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION

COLONEL I. NELSON,

       Petitioner,

v.                                                        CASE NO: 8:10-cv-2701-T-30MAP
                                                          Crim. Case No: 8:08-cr-435-T-30MAP
UNITED STATES OF AMERICA,

      Respondent.
____________________________________/

                                          ORDER

       THIS CAUSE comes before the Court upon Petitioner’s pro se Amended Motion to

Vacate, Set Aside, or Correct Sentence Pursuant to 28 United States Code Section 2255 filed

on December 27, 2010 (CV Dkt. #5), Memorandum in Support filed on December 27, 2010

(CV Dkt. #6), and the Government’s Response filed on March 4, 2011 (CV Dkt. #9).

Petitioner did not file a reply.

                                     BACKGROUND

       Petitioner, Colonel I. Nelson ( “Nelson” or “Petitioner”), pled guilty pursuant to a plea

agreement to one count of conspiring to possess with intent to distribute five grams or more

of a mixture or substance containing a detectable amount of cocaine base in violation of 21

U.S.C. §§ 841(a)(1) and 841(b)(1)(B)(iii). This Court accepted Nelson’s guilty plea and

adjudicated him guilty.

       Petitioner was sentenced to 160 months imprisonment, which is within the statutory

range of ten years to life imprisonment and is below the guideline imprisonment range of 262
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to 327 months.

       On December 27, 2010, Nelson filed this Section 2255 motion asserting ineffective

assistance of counsel and a sentencing error regarding his status as a “career offender.”

                                        TIME BAR

       The Anti-Terrorism and Effective Death Penalty Act established a one-year limitation

period during which a defendant may file a collateral motion for relief from his conviction

and sentence. The one-year limit starts running from the latest of: “(1) the date the judgment

of conviction becomes final; (2) the date any unconstitutional government impediment, if

any, precluding the movant from making a motion is removed; (3) the date on which the right

asserted was recognized by the United States Supreme Court; or (4) the date on which the

facts supporting the claim could have been discovered through the exercise of due diligence.”

28 U.S.C. § 2255(f).

       Nelson did not file a notice of appeal, so his judgment became final on May 6, 2009,

ten business days after his judgment of conviction was entered on April 22, 2009. See Adams

v. United States, 173 F.3d 1339, 1342 (11th Cir. 1999) (when a defendant does not pursue

a direct appeal, a conviction becomes final when the time for filing a direct appeal expires).

Nelson filed this Section 2255 motion on December 27, 2010, over a year after his judgment

became final.

       Petitioner asserts he is actually innocent of his “career offender” status upon which

he was sentenced. The Eleventh Circuit, however, has “never held that an ‘actual innocence’


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exception exists to AEDPA’s one-year statute of limitations.” Justo v. Culliver, 317

Fed.Appx. 878, 880 (11th Cir. 2008) (unpublished opinion). Assuming for the sake of

discussion that such an exception exists, “the factual issue of whether the petitioner can make

a showing of actual innocence should be first addressed, before addressing the constitutional

issue of whether the Suspension Clause requires such an exception for actual innocence.”

Wyzykowski v. Dep’t of Corr., 226 F.3d 1213, 1218 (11th Cir. 2000). In defining “actual

innocence,” the Eleventh Circuit has recognized innocence of a crime, but not actual

innocence of a sentence. Gilbert v. United States, ---- F.3d ----, No. 09-12513, 2011 WL

1885674, *25 (11th Cir. May 19, 2011). “A defendant who is convicted and then has the §

4B1.1 career offender enhancement, or any other guidelines enhancement, applied in the

calculation of his sentence has not been convicted of being guilty of the enhancement.” Id.

         In order to prove actual innocence, a petitioner must prove that “in light of all the

evidence, it is more likely than not that no reasonable juror would have convicted him.”

Bousley v. United States, 523 U.S. 614, 623 (1988) (citing Sawyer v. Whitley, 505 U.S. 333,

339 (1992)). In doing so, a petitioner must produce “new reliable evidence - whether it be

exculpatory scientific evidence, trustworthy eyewitness accounts, or critical physical

evidence - that was not presented at trial.” Arthur v. Allen, 452 F.3d 1234, 1245 (11th Cir.

2006).

         Even if an actual innocence exception applied to a sentence and could overcome the

one-year time limit, Nelson would still fail to make a threshold showing of his innocence.

In his motion, Nelson simply stated that he is innocent of the “career offender” status with

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no new supporting evidence. Thus, Nelson is time-barred from bringing this petition.

       Though this petition must be dismissed as time barred, the Court will address the

merits of the claims by way of explanation that the petition would have failed in any event.

                                         WAIVER

       Title 28 U.S.C. § 2255 allows a petitioner to seek collateral review to vacate and set

aside a judgment if a court finds that the judgment was rendered without jurisdiction, if the

sentence imposed was not authorized by law or otherwise open to collateral attack, or if there

has been a denial or infringement of the prisoner’s constitutional rights as to render the

judgment vulnerable to collateral attack.

       In Nelson’s plea agreement, however, he expressly waived his right to appeal or

challenge his sentence collaterally on any ground other than three exceptions: “(a) the ground

that the sentence exceeds the applicable guideline range as determined by the Court; (b) the

ground the sentence exceeds the statutory maximum penalty; or (c) the ground that the

sentence violates the Eighth Amendment to the Constitution; provided, however, that if the

government exercises its right to appeal the sentence imposed, as authorized by 18 U.S.C.

§ 3742(b), then the defendant is released from his waiver and may appeal the sentence as

authorized by 18 U.S.C. § 3742(a).” CR Dkt. #51 ¶ 5. “Waivers are valid if made

knowingly and voluntarily.” Williams v. United States, 396 F.3d 1340, 1341 (11th Cir. 2005)

(paraphrasing United States v. Bushert, 997 F.2d 1343, 1350-51 (11th Cir. 1993)).

       At the change-of-plea hearing, Nelson confirmed that he understood the appeal waiver

and that he agreed to it knowingly and voluntarily. CR Dkt. #102 ¶ 11-12, 15. Nelson’s

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instant collateral challenge does not fall within any of the exceptions listed in the waiver.

Thus, Petitioner is barred from bringing this challenge due to his appeal waiver.

                                          MERITS

Ground One:          Ineffective Assistance of Counsel For Failure to Challenge
                     Petitioner’s Status as a “Career Offender”

       Nelson alleges a denial of his Sixth Amendment constitutional right to counsel. The

standard of whether a defendant failed to receive effective assistance of counsel is “whether

counsel’s conduct so undermined the proper functioning of the adversarial process that the

trial cannot be relied on as having produced a just result.” Strickland v. Washington, 466

U.S. 668, 686 (1984). A presumption that defendant’s counsel was competent exists, and the

burden is on the petitioner to prove otherwise. United States v. Cronic, 466 U.S. 648, 658

(1984). A petitioner must show “by preponderance of competent evidence,” Chandler v.

United States, 218 F.3d 1305, 1313 (11th Cir. 2000), that “his counsel’s performance was

deficient” and that the deficient performance prejudiced the outcome of his case. Strickland,

466 U.S. at 694. In particular, under the first Strickland prong, a defendant must establish

that his counsel’s performance “fell below an objective standard of reasonableness...under

prevailing professional norms.” Id. at 688. Under the prejudice prong, a defendant must

show that there is a “reasonable probability that, but for counsel’s unprofessional errors, the

result of the proceeding would have been different.” Id.

       Here, Nelson fails to meet his burden of proof in establishing either prong of the

Strickland test. Petitioner’s counsel’s performance did not fall below an objective standard


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in failing to object to Nelson’s status as a career offender, since under the guidelines and due

to his prior convictions, Petitioner is one. In his petition, Nelson alleged that two of his prior

convictions of cocaine possession and a plea of “nolo contendere” on a trespassing charge

do not count toward a “career offender” designation. However, these were not the crimes

used to constitute Nelson’s “career offender” status. P.S.R. ¶ 32.

        In defining Petitioner as a “career offender” under Federal Sentencing Guideline §

4B1.1, this Court used Nelson’s prior “controlled substance offense” of possession of cocaine

with intent to sell or deliver and a prior conviction of escape, which is considered a “crime

of violence” under F.S.G. § 4B1.2. See Id.; United States v. Gay, 251 F.3d 950, 954 (11th

Cir. 2001). Since Petitioner was sentenced, there has been no change in the law that would

affect his career offender status.       Even if there had been, “[r]easonably effective

representation cannot and does not include a requirement to make arguments based on

predictions of how the law may develop.” Spaziano v. Singletary, 36 F.3d 1028, 1039 (11th

Cir. 1994) (citations omitted). And, Nelson fails to meet the prejudice prong, as he has not

shown that his sentence would have been lessened had his counsel done anything differently.

Ground Two:          Sentencing Error that Petitioner is Not a “Career Offender”

       Nelson also brings a separate ground alleging that his sentence was improperly

calculated because he was not a “career offender.” “A prisoner is entitled to relief under

Section 2255 if the court imposed a sentence that (1) violated the Constitution or laws of the

United States, (2) exceeded its jurisdiction, (3) exceeded the maximum authorized by law or

(4) is otherwise subject to collateral attack.” 28 U.S.C. § 2255; United States v. Phillips, 225

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F.3d 1198, 1199 (11th Cir. 2000); United States v. Walker, 198 F.3d 811, 813 n. 5 (11th Cir.

1999). “Relief under 28 U.S.C. § 2255 ‘is reserved for transgressions of constitutional rights

and for that narrow compass of other injury that could not have been raised in direct appeal

and would, if condoned, result in a complete miscarriage of justice.’” Lynn v. United States,

365 F.3d 1225, 1232 (11th Cir. 2004) (citations omitted). Addressing whether a sentencing

error claim may be brought in an initial Section 2255 motion, the Eleventh Circuit stated,

“[w]e have no reason to decide whether to write that concession into the law of this circuit

because Gilbert was not sentenced in excess of the statutory maximum for his crimes.”

Gilbert v. United States, ---- F.3d ----, No. 09-12513, 2011 WL 1885674, *11 (11th Cir. May

19, 2011).

       Like in Gilbert, Nelson’s sentence was not in excess of the statutory maximum; thus,

he may not bring a sentencing error claim in a Section 2255 motion, as it does not come under

any of the recognized categories of relief.

                                      CONCLUSION

       It is therefore ORDERED AND ADJUDGED that:

       1.     Petitioner’s Amended Motion to Vacate, Set Aside, or Correct Sentence

              Pursuant to 28 U.S.C. §2255 (CV Dkt. #5) is DISMISSED.

       2.     The Clerk is to terminate any pending motions and close this case.

       3.     The Clerk is directed to terminate from pending status the motion to vacate (CR

              Dkt. #100) found in the underlying criminal case, case number 8:08-cr-435-T-

              30MAP.

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CERTIFICATE OF APPEALABILITY AND LEAVE TO APPEAL IN FORMA
PAUPERIS DENIED

           IT IS FURTHER ORDERED that Petitioner is not entitled to a certificate of

appealability. A prisoner seeking a writ of habeas corpus has no absolute entitlement to

appeal a district court's denial of his petition. 28 U.S.C. § 2253(c)(1). Rather, a district court

must first issue a certificate of appealability (COA). Id. "A [COA] may issue...only if the

applicant has made a substantial showing of the denial of a constitutional right." Id. at §

2253(c)(2). To make such a showing, a petitioner "must demonstrate that reasonable jurists

would find the district court's assessment of the constitutional claims debatable or wrong,"

Tennard v. Dretke, 542 U.S. 274, 282 (2004) (quoting Slack v. McDaniel, 529 U.S. 473, 484

(2000)), or that "the issues presented were 'adequate to deserve encouragement to proceed

further.'" Miller-El v. Cockrell, 537 U.S. 322, 335-36 (2003) (quoting Barefoot v. Estelle, 463

U.S. 880, 893 n. 4 (1983)). Petitioner has not made the requisite showing in these

circumstances.

           Finally, because Petitioner is not entitled to a COA, he is not entitled to appeal in

forma pauperis.

           DONE and ORDERED in Tampa, Florida on June 22, 2011.




Copies furnished to:
Counsel/Parties of Record
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